                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

   UNITED STATES OF AMERICA,                      )
       Plaintiff,                                 )
                                                  )
   v.                                             )   CASE NO. W-17-CR-257(1)-JCM
                                                  )
   EDDIE ELLIS, JR.,                              )
       Defendant.                                 )


                            APPLICATION FOR WRIT OF EXECUTION

        Plaintiff, United States of America, makes application in accordance with 18 U.S.C. § 3613

and 28 U.S.C. § 3203(c)(1) to the Clerk of the United States District Court to issue a Writ of

Execution upon the Judgment rendered in this case in the amount of $486,210.57 against

Defendant, EDDIE ELLIS, JR. Specifically, Defendant was ordered to pay a $25.00 special

assessment and $486,185.57 in restitution to the Department of Veteran’s Affairs and VA Debt

Management Center after pleading guilty to one count of theft of government property in violation

of 18 U.S.C. § 641. (Doc. No. 25).

        According to the records of the United States District Clerk, as of April 18, 2018, the debt

balance of $486,210.57 remains outstanding. The Judgment Defendant’s full name is EDDIE

ELLIS, JR., and he resides at 114 FM 147, Marlin, Texas 76661.

Dated: April 18, 2018
                                                      Respectfully submitted,

                                                      JOHN F. BASH
                                                      UNITED STATES ATTORNEY

                                                By: /s/ Steven E. Seward
                                                    STEVEN E. SEWARD
                                                    Assistant United States Attorney
                                                    Florida Bar No. 29546
                                                    601 N.W. Loop 410, Suite 600
                                                    San Antonio, Texas 78216
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    E-mail: Steven.Seward@usdoj.gov

    ATTORNEY FOR UNITED STATES




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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

   UNITED STATES OF AMERICA,                    )
       Plaintiff,                               )
                                                )
   v.                                           )   CASE NO. W-17-CR-257(1)-JCM
                                                )
   EDDIE ELLIS, JR.,                            )
       Defendant.                               )


                  ORDER FOR ISSUANCE OF WRIT OF EXECUTION

        The United States of America has applied for a writ of execution upon the judgment

rendered in this case against the Defendant, EDDIE ELLIS, JR.

        The Court, having considered the Application for the Writ of Execution, finds that the

application meets the requirements of 18 U.S.C. § 3613 and 28 U.S.C. § 3203(c)(1).

        IT IS THEREFORE ORDERED that the Writ of Execution be issued by the Clerk to the

United States Marshals Service for the Western District of Texas.

        IT IS FURTHER ORDERED that the United States Marshals Service serve this Order

and the Clerk’s Notice of Post Judgment Execution on the Defendant.

        SO ORDERED.



  Dated:
                                              JEFFREY C. MANSKE
                                              UNITED STATES MAGISTRATE JUDGE
                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

   UNITED STATES OF AMERICA,                      )
       Plaintiff,                                 )
                                                  )
   v.                                             )   CASE NO. W-17-CR-257(1)-JCM
                                                  )
   EDDIE ELLIS, JR.,                              )
       Defendant.                                 )


                 CLERK’S NOTICE OF POST-JUDGMENT EXECUTION

        You are hereby notified that all nonexempt property is being taken by the United States of

America which has a judgment in the above-captioned case in the amount of $486,210.57. A

balance of $486,210.57 is outstanding as of April 18, 2018.

        In addition, you are hereby notified that there are exemptions under the law which may

protect some of the property from being taken by the Government if you can show that the

exemptions apply. If you are EDDIE ELLIS, JR., you have the right to ask the court to return

your property to you if you think you do not owe the money to the Government that it claims you

do, or if you think the property the Government is taking qualifies under one of the exemptions.

        If you want a hearing, you must notify the court within 20 days after receipt of the notice.

Your request must be in writing. If you wish, you may use this notice to request a hearing by

checking the box below. You must either mail it or deliver it in person to the United States

District Clerk at 800 Franklin Ave., Room 380, Waco Texas 76701. You must also send a copy

of your request to the Financial Litigation Unit, USAO-WDTX, Attn: AUSA Steven E.

Seward, 601 N.W. Loop 410, Suite 600, San Antonio, Texas 78216, so the Government will

know that you want a hearing.
       The hearing will either take place within five days after the Clerk receives your request or

as soon thereafter as possible.

       At the hearing you may explain to the judge why you think you do not owe the money to

the Government. If you do not request a hearing within 20 days of receiving this notice, any

personal property may be sold at auction and the proceeds of the sale applied to the debt you owe

the Government.

       If you think you live outside the federal judicial district in which the Court is located, you

may request, not later than 20 days after you receive this notice, that this proceeding to take your

property be transferred by the Court to the federal judicial district in which you reside. You must

make your request in writing, and either mail it or deliver it in person to the United States District

Clerk at 800 Franklin Ave., Room 380, Waco, Texas 76701. You must also send a copy of your

request to the Financial Litigation Unit, USAO-WDTX, Attn: AUSA Steven E. Seward, 601

N.W. Loop 410, Suite 600, San Antonio, Texas 78216, so the Government will know you want

the proceeding to be transferred.

       Be sure to keep a copy of this notice for your own records. If you have questions about

your rights or about this procedure, you should contact a lawyer, an office of public legal

assistance, or the clerk of the court. The clerk is not permitted to give legal advice, but can refer

you to other sources of information.




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                                          JEANNETTE CLACK
                                          CLERK, UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF TEXAS

                                 By:
                                          Deputy




☐   I hereby request a court hearing. Notice of the hearing should be given to me by mail at
    the following address:




☐   I do not want a hearing.


Dated:
                                            EDDIE ELLIS, JR.




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                       NOTICE TO DEFENDANT EDDIE ELLIS, JR. ON
                             HOW TO CLAIM EXEMPTIONS


       The attached post-judgment process has been issued at request of the United States of

America.

       The law provides that certain property and wages cannot be taken. Such property is said

to be “exempt.” The attached form lists the exemptions under federal law. There is no exemption

solely because you are having difficulty paying your debts.

       If you claim an exemption, you should (i) fill out the claim for exemption form and (ii)

deliver or mail the form to the Clerk’s Office of this Court and counsel for the United States. You

have a right to a hearing within five business days, or as soon as thereafter as is practicable, from

the date you file your claim with the Court.

       On the day of the hearing, you should come to Court ready to explain why your property

is exempt, and you should bring any documents which may help you prove your case. If you do

not come to Court at the designated time and prove that your property is exempt, you may lose

some of your rights.

       It may be helpful to you to seek the advice of an attorney in this matter.
                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

   UNITED STATES OF AMERICA,                      )
       Plaintiff,                                 )
                                                  )
   v.                                             )   CASE NO. W-17-CR-257(1)-JCM
                                                  )
   EDDIE ELLIS, JR.,                              )
       Defendant.                                 )


                     DEFENDANT’S REQUEST FOR HEARING,
             CLAIM FOR EXEMPTIONS, and/or REQUEST FOR TRANSFER
        You are entitled to a hearing if you can demonstrate that you do not owe the money to the

Government or you are asserting that the property subject to execution is exempt pursuant to 18

U.S.C. § 3613(a)(1). See 28 U.S.C. §§ 3202 and 3203.

        If claiming an exemption or requesting a hearing, please complete the following form by

checking the space next to applicable section. You must mail or deliver the original of this form

to the United States District Clerk and mail a copy to the United States of America as explained in

the attached Clerk’s Notice of Post-Judgment Writ of Execution to Defendant. See 28 U.S.C.

§3202(b).

        I.      CLAIM FOR EXEMPTIONS

        □       I request a hearing based on the exemption(s) checked below:

        _____      Wearing apparel and school books. See 26 U.S.C. § 6334(a)(1).

        _____      Fuel, provisions, furniture, and personal effects that do not exceed $6,250.00.
                   See 26 U.S.C. § 6334(a)(2) & (g).

        _____      Books and tools of a trade, business, or profession that do not exceed $3,125.00.
                   See 26 U.S.C. § 6334(a)(3) & (g).

        _____      Unemployment benefits. See 26 U.S.C. § 6334(a)(4).

        _____      Undelivered mail. See 26 U.S.C. § 6334(a)(5).
       _____       Certain annuity and pension payments – Annuity or pension payment under the
                   Railroad Retirement Act, benefits under the Railroad Unemployment Insurance
                   Act, special pension payments received by a person whose name has been
                   entered on the Army, Navy, Air Force, and Coast Guard Medal of Honor Roll
                   (38 U.S.C. § 1562), and annuities based on retired or retainer pay under Chapter
                   73 of Title 10 of the United States Code. See 26 U.S.C. §6334(a)(6).

       _____       Workmen’s compensation. See 26 U.S.C. § 6334(a)(7).

       _____       Judgments for support of minor children pursuant to a court judgment entered
                   prior to the date of levy to contribute to the support of a defendant’s minor
                   children. See 26 U.S.C. § 6334(a)(8).

       _____       Certain service-connected disability payments. See 26 U.S.C. § 6334(a)(10).

       _____       Assistance under Job Training Partnership Act. See 26 U.S.C. § 6334(a)(12).


II.    REQUEST FOR HEARING

       □       I request a hearing because I do not owe the money to the Government.
 Explain:




III.   REQUEST FOR TRANSFER

       □       I request a transfer to the federal judicial district in which I reside, which is the
               __________________ District of ______________________ (state).

                                          Defendant’s
                                           Signature:
                                                 Date:
                                             Address:


                                               E-mail:
                                 Daytime Telephone:




                                                  2
                             CERTIFICATE OF SERVICE

       I certify that on                         , I mailed a copy of this form to the
following:


      Financial Litigation Unit
      USAO-WDTX
      Attn: AUSA Steven E. Seward
      601 N.W. Loop 410, Suite 600
      San Antonio, Texas 78216

                                          Signature of Defendant




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                           Exemptions in Criminal Cases

Property exempted from garnishment for payment of criminal fines and restitution is the
same property exempted from IRS levy for taxes. 18 U.S.C. § 3613(a) and (f). These
exemptions, found at 26 U.S.C. § 6334(a), are as follows:

      Wearing apparel and school books. – Such items of wearing apparel and such
      school books as are necessary for the debtor or for members of his family.

      Fuel, provisions, furniture, and personal effects up to $6,250.00 in value.

      Books and tools of a trade, business, or profession up to $3,125.00 in value.

      Unemployment benefits.

      Undelivered mail.--Mail which has not been delivered to the addressee.

      Certain annuity and pension payments.--Annuity or pension payments under the Railroad
      Retirement Act, benefits under the Railroad Unemployment Insurance Act, special
      pension payments received by a person whose name has been entered on the Army, Navy,
      Air Force, and Coast Guard Medal of Honor roll (38 U.S.C. 1562), and annuities based
      on retired or retainer pay under Chapter 73 of Title 10 of United States Code.

      Workmen’s Compensation.

      Judgments for support of minor children. – If the debtor is required by court judgment,
      entered prior to the date of levy, to contribute to the support of his minor children, so
      much of his salary, wages, or other income as is necessary to comply with such judgment.

      Certain service-connected disability payments.

      Assistance under Job Training Partnership Act.

In addition, the following non-IRS exemption from garnishment is available:

      Minimum exemptions for wages, salary and other income. The exemptions under 26
      U.S.C. § 6334(a)(9) do not apply in criminal cases. The exceptions under the Consumer
      Credit Protection Act, 15 U.S.C. § 1673, for disposable earnings, automatically apply
      and do not need to be claimed. The aggregate disposable earnings of an individual for
      any workweek which is subjected to garnishment may not exceed (1) 25 % of his
      disposable earnings for that week, or (2) the amount by which his disposable earnings
      for that week exceed thirty times the Federal minimum hourly wage in effect at the time
      the earnings are payable, whichever is less.




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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

   UNITED STATES OF AMERICA,                      )
       Plaintiff,                                 )
                                                  )
   v.                                             )   CASE NO. W-17-CR-257(1)-JCM
                                                  )
   EDDIE ELLIS, JR.,                              )
       Defendant.                                 )


                                    WRIT OF EXECUTION

TO THE UNITED STATES MARSHAL:

        On March 1, 2018, a Judgment was entered in the United States District Court for the

Western District of Texas, in this case in favor of the United States of America, and against the

Defendant, EDDIE ELLIS, JR., in the amount of $486,210.57. Specifically, Defendant was

ordered to pay a $25.00 special assessment and $486,185.57 in restitution for theft of government

property in violation of 18 U.S.C. § 641. As of April 17, 2018, the total balance due is

$486,210.57. The Judgment Defendant’s full name is EDDIE ELLIS, JR., and he resides at 114

FM 147, Marlin, Texas 76661.

        NOW, THEREFORE, YOU ARE HEREBY COMMANDED to satisfy the judgment by

levying on and selling all property in which the defendant has a substantial nonexempt interest.

        YOU ARE ALSO COMMANDED to collect your costs and expenses and make return of

this writ within ninety days after the date of issuance if levy is not made, or, within 10 days after

the date of sale of property on which levy is made.
       YOU ARE FURTHER COMMANDED that the levy and sale shall not exceed the property

responsibly equivalent in value to the aggregate amount of the judgment, costs and interest.



 Signed this                   day of                                          , 2018.




(SEAL)                                           JEANNETTE CLACK
                                                 UNITED STATES DISTRICT CLERK
                                                 WESTERN DISTRICT OF TEXAS


                                          By:
                                                 Deputy Clerk




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                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION

   UNITED STATES OF AMERICA,                        )
       Plaintiff,                                   )
                                                    )
   v.                                               )   CASE NO. W-17-CR-257(1)-JCM
                                                    )
   EDDIE ELLIS, JR.,                                )
       Defendant.                                   )


                                        NOTICE OF LEVY

TO THE ABOVE-NAMED DEFENDANT AND ALL OTHER PERSONS INTERESTED:

        TAKE NOTICE that on the _____ day of __________________, 2018, by virtue of an

Execution issued out of the above-named court in the above-entitled action on the _______ day of

__________________, 2018, I have levied upon the following described properties located in the

City of Waco, State of Texas, and all the right, title, and interest of said defendant therein, to wit:

              Financial Accounts maintained by Members Choice of Central Texas FCU

        THAT THE PARTIES to said action are the United States of America and EDDIE ELLIS,

JR., Defendant; and that the amount of Plaintiff’s claim and demand, as stated in the said

execution, is the sum of $486,210.57, as of April 18, 2018, together with costs of this service.

                                                   UNITED STATES MARSHAL
                                                   WESTERN DISTRICT OF TEXAS


                                            By:
                                                   Deputy United States Marshal
                                                   Western District of Texas
                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

   UNITED STATES OF AMERICA,                   )
       Plaintiff,                              )
                                               )
   v.                                          )   CASE NO. W-17-CR-257(1)-JCM
                                               )
   EDDIE ELLIS, JR.,                           )
       Defendant.                              )


               SPECIFICATION OF PROPERTY SUBJECT TO EXECUTION

TO THE UNITED STATES MARSHAL:

        The following property of the Defendant is subject to execution to satisfy Plaintiff’s

judgment and are located as follows:

              Financial Accounts maintained at Members Choice of Central Texas FCU

DATED: April 18, 2018

                                                   Respectfully submitted,

                                                   JOHN F. BASH
                                                   UNITED STATES ATTORNEY

                                             By: /s/ Steven E. Seward
                                                 STEVEN E. SEWARD
                                                 Assistant United States Attorney
                                                 Florida Bar No. 29546
                                                 601 N.W. Loop 410, Suite 600
                                                 San Antonio, Texas 78216
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                                                 Facsimile: (210) 384-7247
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                                                   ATTORNEY FOR UNITED STATES
